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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re: Search Warrant Executed on                           Case No.: 21 Misc. 813 (AT)
 November 5, 2021



 In re Search Warrant Executed on                            Case No.: 21 Misc. 819 (AT)
 November 3, 2021


 In re Search Warrant Executed on                            Case No.: 21 Misc. 825 (AT)
 November 3, 2021
                                                            SPECIAL MASTER ORDER


       By Order dated December 8, 2021 (the “Order”), the Court appointed me as Special Master

in each of the above-captioned matters to determine what materials seized by the Government are

responsive to the search warrants, as well as to rule on any privilege objections raised by the parties

following review of responsive materials by the Government’s filter team.

I.     Background

       As described in my report filed with the Court on March 7, 2022, I have so far determined

that a total of 155 items are responsive to the Government’s search warrants. The Order provides

that the filter team is to “conduct a review of the responsive materials to determine if any should

be withheld from the investigative team on any grounds – including grounds related to any First

Amendment concerns, journalistic privileges, and attorney-client privileges.” Order at 4. I

understand that the filter team has completed its review of the first 155 items released and has

determined that there is no basis for any to be withheld from the investigative team. I further

understand that Petitioners wish to raised objections to the filter team’s determinations.
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II.    Procedures For Raising Objections

       There is a dispute between Petitioners and the Government over the procedures by which

objections to the filter team’s determinations will be presented to me and resolved. The parties

have submitted letter briefs to me regarding their respective positions, which reveal two principal

areas of disagreement: (1) whether I should complete the responsiveness review before the parties

present their objections to me; and (2) whether the Government’s investigative team should be

involved in the process of resolving Petitioners’ objections.

       Having carefully considered the parties’ positions the following procedures shall govern

the process for raising and resolving Petitioners’ objections:

            1. I find it is not necessary that my responsiveness review of device 1B61, and any

                other device subsequently provided to me by the Government, be completed before

                Petitioners raise their objections regarding materials that have been released to

                date.

            2. With respect to the 155 items reviewed thus far by the filter team, Petitioners shall

                submit their objections to me on an ex parte basis on or before March 18, 2022.

                For any materials I deem responsive at a later date, Petitioners may lodge

                supplemental objections 7 days after the filter team completes its review.

            3. Should I require information or legal analysis to assist me in resolving Petitioners’

                objections I may confer with the parties or ask for additional written

                submissions. The Government’s investigative team shall not participate in that

                process if the resolution of Petitioners’ objections requires disclosure to the

                investigative team of any particular seized document or materials or description of

                their content. In such case, I will seek only the filter team’s involvement and no

                documents or materials or descriptions of their content will be provided to the


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             investigative team.

         4. Once I have resolved Petitioners’ objections I will submit my determinations to

             the Court in a Report and Recommendation.

Dated: New York, New York
       March 14, 2022


                                           "HON. BARBARA S. j6nES (Ret.)




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